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                6
                     Attorney for Defendant
                7    Wynn Las Vegas, LLC

                8
                                                  UNITED STATES DISTRICT COURT
                9
                                                          DISTRICT OF NEVADA
              10
                     VERONICA MORA, an individual,
              11                                                      Case No. 2:19-cv-01225-JAD-NJK
                                     Plaintiff,
              12
                             vs.                                        STIPULATION AND ORDER
              13                                                        REGARDING SETTLEMENT OF
                     ELION PRODANI, an individual; WYNN                 MATTER
              14     LAS VEGAS, LLC a Nevada corporation,
              15                    Defendants.
              16
                            Defendant Wynn Las Vegas, LLC (“WLV”), Defendant Elion Prodani, and Plaintiff
              17
                     Veronica Mora, by and through their respective counsel of record, hereby notify the Court that the
              18
                     parties have reached an agreement to globally settle this matter as to Plaintiff’s claims against all
              19
                     Defendants.
              20
                            The parties anticipate delays in completing settlement payment due to the COVID-19
              21
                     shutdowns affecting Defendant WLV. Accordingly, the parties anticipate filing a stipulation for
              22
                     dismissal of this action no later than July 20, 2020. Should circumstances delay filing of the
              23
                     stipulation further, the parties shall advise the Court.
              24
                            Given the resolution of this matter, the parties hereby request that all current deadlines be
              25
                     vacated.
              26

              27

              28
JACKSON LEWIS P.C.
    LAS VEGAS
                     Case 2:19-cv-01225-JAD-NJK Document 28 Filed 04/20/20 Page 2 of 2



                1
                                                                    STIPULATION
                2
                              NOW THEREFORE, the parties hereby agree and stipulate as follows:
                3
                              All current pleading, discovery, and filing deadlines in this matter shall be vacated.
                4
                              The parties shall file a stipulation regarding dismissal of this action by July 20, 2020.
                5
                              Respectfully submitted this 20th day of April 2020.
                6

                7    GARG GOLDEN LAW FIRM                                JACKSON LEWIS P.C.

                8    /s/ Anthony B. Golden                               /s/ Deverie J. Christensen
                                                                         Deverie J. Christensen, Bar #6596
                     Anthony B. Golden, Bar #9563                        Daniel I. Aquino, Bar #12682
                9    Puneet K. Garg, Bar #9811                           300 S. Fourth Street, Suite 900
              10     3145 St. Rose Parkway, Suite 230                    Las Vegas, Nevada 89101
                     Henderson, NV 89052
              11                                                         Attorney for Defendant Wynn Las Vegas, LLC

              12

              13                                                         HUTCHISON & STEFFEN

              14                                                         /s/ Jason D. Guinasso
                                                                         Joseph R. Ganley, Bar # 5643
              15                                                         Jason D. Guinasso, Bar #8478
                                                                         HUTCHISON & STEFFEN, PLLC
              16                                                         Peccole Professional Park
                                                                         10080 West Alta Drive, Suite 200
              17                                                         Las Vegas, NV 89145

              18                                                         Attorney for Defendant Elion Prodani

              19
              20
                                                                    ORDER
              21             ITITISISSO
                                      SO ORDERED.
                                         ORDERED this ____ day of April 2020.
              22

              23                                                             U.S. District/Magistrate Judge JUDGE
                                                                             UNITED     STATES DISTRICT
              24                                                             Dated: April 20, 2020.

              25

              26     4822-7743-7114, v. 1

              27

              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                          -2-
